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Week                                                  Overnight
                Overall Score       Percent Within +1‐Day Percent Within +2‐Day
  1/1/2020                 97.71%                  99.03%                99.49%
  1/4/2020                 96.33%                  98.84%                99.39%
 1/11/2020                 95.55%                  98.52%                99.21%
 1/18/2020                 95.55%                  98.63%                99.28%
 1/25/2020                 95.23%                  98.26%                99.03%
  2/1/2020                 95.38%                  98.56%                99.22%
  2/8/2020                 95.77%                  98.55%                99.25%
 2/15/2020                 96.51%                  98.80%                99.36%
 2/22/2020                 96.19%                  98.61%                99.32%
 2/29/2020                 95.98%                  98.69%                99.26%
  3/7/2020                 95.71%                  98.39%                99.05%
 3/14/2020                 95.86%                  98.54%                99.18%
 3/21/2020                 95.97%                  98.54%                99.10%
 3/28/2020                 95.45%                  98.53%                99.19%
  4/1/2020                 96.37%                  98.68%                99.21%
  4/4/2020                 95.48%                  98.35%                99.15%
 4/11/2020                 94.42%                  97.60%                98.71%
 4/18/2020                 95.63%                  98.44%                99.14%
 4/25/2020                 95.74%                  98.32%                99.02%
  5/2/2020                 95.91%                  98.46%                99.18%
  5/9/2020                 95.96%                  98.44%                99.11%
 5/16/2020                 95.88%                  98.53%                99.18%
 5/23/2020                 96.38%                  98.75%                99.30%
 5/30/2020                 95.53%                  98.63%                99.27%
  6/6/2020                 95.65%                  98.47%                99.16%
 6/13/2020                 96.07%                  98.54%                99.22%
 6/20/2020                 95.72%                  98.53%                99.16%
 6/27/2020                 95.25%                  98.59%                99.32%
  7/1/2020                 96.52%                  98.53%                99.14%
  7/4/2020                 95.17%                  98.30%                99.08%
 7/11/2020                 92.21%                  97.60%                98.64%
 7/18/2020                 90.35%                  96.79%                98.53%
 7/25/2020                 89.67%                  96.15%                98.16%
  8/1/2020                 89.31%                  96.06%                98.14%
  8/8/2020                 90.34%                  96.19%                97.91%
 8/15/2020                 92.89%                  97.36%                98.67%
 8/22/2020                 94.02%                  98.02%                98.94%
 8/29/2020                 94.25%                  98.22%                99.09%
  9/5/2020                 94.44%                  98.27%                99.18%
 9/12/2020                 93.92%                  98.55%                99.40%
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                                                          Presort First‐Class
                                                              Two‐Day
Percent Within +3‐Day   Overall Score       Percent Within +1‐Day Percent Within +2‐Day
               99.66%              93.05%                  97.68%                99.13%
               99.58%              94.55%                  98.09%                99.03%
               99.45%              94.36%                  98.13%                99.09%
               99.50%              94.62%                  98.31%                99.13%
               99.33%              93.99%                  97.98%                99.08%
               99.48%              93.55%                  97.80%                98.98%
               99.51%              94.11%                  98.05%                99.04%
               99.57%              95.52%                  98.56%                99.27%
               99.55%              94.65%                  98.11%                99.05%
               99.49%              94.83%                  98.22%                99.10%
               99.41%              94.46%                  98.05%                99.03%
               99.44%              94.22%                  98.13%                99.06%
               99.37%              94.98%                  98.28%                99.07%
               99.50%              94.09%                  98.32%                99.19%
               99.49%              95.16%                  97.70%                98.74%
               99.43%              93.69%                  97.62%                98.77%
               99.27%              92.45%                  96.62%                98.10%
               99.47%              92.57%                  96.80%                98.14%
               99.35%              92.66%                  96.89%                98.25%
               99.44%              92.24%                  96.95%                98.35%
               99.39%              91.70%                  96.96%                98.42%
               99.43%              92.80%                  97.63%                98.71%
               99.55%              94.17%                  97.83%                99.01%
               99.55%              94.05%                  98.02%                99.05%
               99.43%              93.57%                  97.72%                98.82%
               99.49%              94.21%                  98.01%                99.01%
               99.44%              94.05%                  98.02%                99.02%
               99.60%              93.34%                  98.21%                99.21%
               99.39%              95.41%                  97.97%                98.93%
               99.38%              93.09%                  97.56%                98.87%
               99.19%              88.98%                  96.14%                98.20%
               99.14%              86.81%                  95.38%                97.94%
               98.90%              87.27%                  94.71%                97.28%
               98.99%              86.97%                  95.44%                97.62%
               98.77%              85.42%                  94.66%                97.43%
               99.19%              90.03%                  96.33%                98.08%
               99.31%              91.55%                  97.14%                98.62%
               99.45%              91.16%                  97.04%                98.58%
               99.57%              92.17%                  97.31%                98.69%
               99.68%              90.34%                  97.05%                98.74%
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                                                         Three‐To‐Five‐Day
Percent Within +3‐Day   Overall Score       Percent Within +1‐Day Percent Within +2‐Day
               99.57%              89.63%                  96.56%                99.08%
               99.47%              92.12%                  97.30%                98.84%
               99.48%              91.20%                  97.31%                98.85%
               99.51%              93.49%                  97.79%                99.02%
               99.47%              91.38%                  97.48%                98.85%
               99.39%              90.73%                  97.02%                98.71%
               99.42%              92.26%                  97.72%                98.89%
               99.54%              94.58%                  98.09%                99.12%
               99.46%              93.49%                  97.90%                98.98%
               99.45%              93.81%                  98.03%                99.04%
               99.43%              92.80%                  97.64%                98.93%
               99.43%              92.55%                  97.76%                98.93%
               99.41%              93.28%                  97.79%                98.89%
               99.52%              93.29%                  98.40%                99.24%
               99.25%              92.28%                  96.21%                98.20%
               99.22%              91.85%                  97.17%                98.63%
               98.86%              89.04%                  95.79%                98.05%
               98.78%              91.58%                  96.75%                98.31%
               98.88%              89.85%                  96.10%                98.02%
               98.97%              89.65%                  96.13%                98.12%
               99.03%              89.27%                  96.00%                98.13%
               99.22%              91.24%                  96.92%                98.53%
               99.41%              92.29%                  97.23%                98.66%
               99.43%              90.12%                  97.01%                98.66%
               99.30%              90.42%                  96.85%                98.44%
               99.40%              91.80%                  97.18%                98.65%
               99.44%              90.62%                  97.18%                98.70%
               99.56%              90.85%                  97.87%                99.07%
               99.39%              90.92%                  95.16%                97.57%
               99.28%              91.14%                  97.39%                98.45%
               99.04%              84.47%                  94.92%                97.83%
               98.84%              81.63%                  93.50%                97.17%
               98.30%              83.46%                  93.22%                96.73%
               98.62%              82.62%                  93.40%                96.63%
               98.61%              80.35%                  92.28%                96.34%
               98.90%              84.12%                  94.34%                97.25%
               99.18%              86.55%                  95.67%                97.97%
               99.23%              86.70%                  95.70%                97.94%
               99.28%              87.31%                  95.36%                97.59%
               99.33%              85.96%                  95.35%                97.81%
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                                                              Two‐Day
Percent Within +3‐Day   Overall Score       Percent Within +1‐Day Percent Within +2‐Day
               99.48%              92.34%                  96.91%                98.02%
               99.40%              93.04%                  97.00%                98.34%
               99.35%              93.13%                  97.50%                98.63%
               99.45%              93.10%                  97.48%                98.41%
               99.28%              93.02%                  97.38%                98.60%
               99.30%              92.23%                  97.12%                98.40%
               99.33%              92.86%                  97.27%                98.42%
               99.48%              93.48%                  97.55%                98.41%
               99.38%              93.19%                  97.30%                98.51%
               99.44%              93.51%                  97.60%                98.65%
               99.37%              93.10%                  97.39%                98.50%
               99.38%              92.60%                  97.13%                98.34%
               99.36%              93.30%                  97.26%                98.36%
               99.48%              92.61%                  97.35%                98.38%
               99.15%              94.45%                  97.66%                98.75%
               99.20%              92.23%                  97.03%                98.48%
               98.99%              91.72%                  96.68%                98.18%
               98.98%              92.31%                  96.85%                98.18%
               98.88%              92.16%                  96.89%                98.28%
               98.90%              91.72%                  96.80%                98.23%
               98.94%              91.76%                  96.63%                98.08%
               99.10%              92.42%                  97.13%                98.40%
               99.34%              93.24%                  97.43%                98.40%
               99.24%              92.59%                  97.29%                98.61%
               99.09%              92.41%                  97.10%                98.37%
               99.21%              92.82%                  97.42%                98.62%
               99.31%              92.34%                  97.16%                98.41%
               99.42%              91.68%                  97.39%                98.59%
               98.83%              93.63%                  97.49%                98.77%
               99.05%              90.80%                  96.69%                98.13%
               98.90%              88.54%                  96.10%                97.94%
               98.52%              85.06%                  94.39%                97.17%
               98.13%              86.43%                  94.81%                97.33%
               98.15%              85.54%                  94.83%                97.45%
               98.00%              85.33%                  94.34%                97.05%
               98.38%              87.82%                  95.48%                97.60%
               98.83%              89.35%                  96.21%                97.95%
               98.88%              90.21%                  96.61%                98.21%
               98.79%              89.71%                  96.25%                97.74%
               98.81%              88.81%                  96.44%                98.37%
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           Single Piece First‐Class
                                                              Three‐To‐Five‐Day
Percent Within +3‐Day       Overall Score       Percent Within +1‐Day Percent Within +2‐Day
               98.63%                  79.01%                  93.35%                96.86%
               98.87%                  80.78%                  91.64%                96.38%
               99.10%                  81.83%                  94.11%                97.16%
               99.03%                  86.64%                  94.97%                97.40%
               99.07%                  79.96%                  94.47%                97.38%
               98.94%                  80.76%                  93.82%                96.89%
               98.91%                  83.48%                  94.85%                97.35%
               98.96%                  87.33%                  94.90%                97.38%
               98.99%                  84.33%                  95.07%                97.37%
               99.12%                  85.26%                  95.22%                97.53%
               98.98%                  84.15%                  94.70%                97.32%
               98.89%                  83.72%                  94.50%                97.09%
               98.87%                  84.84%                  94.71%                97.07%
               98.91%                  84.81%                  95.59%                97.71%
               99.16%                  86.13%                  93.95%                96.59%
               99.02%                  82.99%                  94.38%                97.24%
               98.82%                  80.52%                  92.44%                96.33%
               98.80%                  82.45%                  93.60%                96.59%
               98.83%                  81.00%                  92.86%                96.22%
               98.85%                  80.47%                  92.89%                96.37%
               98.73%                  78.28%                  91.73%                96.01%
               98.94%                  82.76%                  93.93%                96.88%
               99.03%                  84.81%                  93.86%                96.85%
               99.10%                  78.33%                  93.50%                96.99%
               98.91%                  80.76%                  93.27%                96.69%
               99.13%                  82.58%                  94.09%                97.02%
               98.96%                  80.97%                  93.42%                96.84%
               99.14%                  80.96%                  95.04%                97.83%
               99.24%                  83.69%                  93.19%                96.37%
               98.92%                  80.43%                  93.51%                96.25%
               98.70%                  71.92%                  89.69%                95.29%
               98.31%                  66.73%                  87.15%                93.76%
               98.38%                  69.63%                  88.05%                94.08%
               98.50%                  67.69%                  87.57%                93.71%
               98.21%                  66.41%                  86.26%                93.23%
               98.50%                  71.71%                  89.25%                94.72%
               98.77%                  75.64%                  91.34%                95.69%
               98.87%                  76.55%                  91.98%                96.03%
               98.70%                  78.83%                  91.86%                95.86%
               99.00%                  75.68%                  92.58%                96.34%
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Percent Within +3‐Day
               97.74%
               97.93%
               98.37%
               98.51%
               98.38%
               98.20%
               98.35%
               98.46%
               98.31%
               98.55%
               98.38%
               98.23%
               98.18%
               98.48%
               98.15%
               98.41%
               97.89%
               97.94%
               97.65%
               97.89%
               97.73%
               98.06%
               98.34%
               98.18%
               98.05%
               98.29%
               98.22%
               98.67%
               98.11%
               97.93%
               97.51%
               96.60%
               96.69%
               96.50%
               96.23%
               96.89%
               97.55%
               97.69%
               97.86%
               97.78%
